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Ei"a‘$"i'i§i`;rl DlST. lEl~:N.

FiRst AMENDED

iohn william stewart BYF_,____DEFT. CLE%K coMPLAiNT FoR QulET TlTLE

) FRAuD AND MlsREPREsENTATloNs,

) BREACH oF coNTRAcT, DEcLAToRY

) Ri-:LiEF AND iNJuNchvE REuEF
Plaintiff )

)
vs. )

)

ClV|L ACT|ON NO. 3108-CV-475

New Century l\/|ortgage Corporation,

Deutshe Bank Nationa| Trust Company,as Trustee ,
chen Loan Servicing , Shapiro and Kirsch LLP.,
Tennessee Home Mortgage, and ”John Doe"
identified as all Persons having an ownership
interest in the mortgage lien on subject property
claiming any legal or equitable right title,

estate, lien or right, title, estate, lien or interest in
the property described in this complaint adverse
to P|aintiff's title thereto inclusive.

V`_,
`/VV~_¢~_¢`_¢`,

Defendants

Comes now the P|aintiff pro se and alleges the following to this Honorable Court:

1. P|aintifflohn Wi||iam Stewart (hereinafter ”Plaintiff") individual over the age of eighteen (18)
and is, and was at all times mentioned herein, a resident of Knoxvil|e, Knox County, Tennessee
and is the true equitable owner s and sole title holder s of real property located at 10707 Eagle
Glen Drive, Knoxvil|e, Tennessee 37922 (hereinafter the ”Property". A legal description of the
Property is Lot Number (7), Eagle Glen Subdivision, Unit 1 as shown by map of the same of
record in Map Cabinet K, S|ide 96-C, in the Register's Office for Knox County, Tennessee to which

map reference is hereby made for a more particular description of said property.

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2. Piaintiff is also the Trustor of a deed of trust on October 25, 2002 instrument No
200211070040905 hereinafter "Deed of Trust"), in the Knox County Register’s Office
First Security Title was the beneficiary of the Deed of Trust, relating to loan number which is

currently referenced as 0031936610.

3. Piaintiff is ignorant of the true names and capacities of defendants sued herein as inclusive, and
therefore sues these defendants by such fictitious names. Piaintiff will amend this complaint to

allege their true names and capacities when ascertained.

4. Piaintiff is informed and believes and thereon alleges that, based upon the SEC filings, and
recent consultation with experts in mortgage backed securities, Piaintiff unknowingly entered
into agreements wherein loan payments could be allocated to payments due on notes from
OTHER borrowers in whole or in part - as consequence of the cross guarantee agreements

between tranches in the SPV and between SPV.

7. Piaintiff is informed and further believe and thereon alleges that Defendant’s cross guarantee
agreements were an overcollateralization of the loan and as part of the overall scheme of
issuance of the note and insurance purchased with the proceeds of sale of the loan to
Defendant and investors in which reserve pools and guarantees of payment were created

through payments to third parties, none of which was disclosed to Plaintiff.

8. Piaintiff is informed and believes and thereupon alleges that, Defendants unknown to Piaintiff
claim an interest in the property adverse to plaintiff herein. However, the claim of said
Defendant is without any right whatsoever, and said Defendants have not legal or equitable

right, claim, or interest in said property.

10. Piaintiff’s search of the SEC database known as the EDGAR database which makes public all
fillings required by the SEC a party finds certain legal filling required by SEC to establish a
publicly traded ”special purpose vehicle” or SlV industry parlance which provide the following

information..

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(a) New Century i\/ior‘tgage Securities, lnc. as Depositor for New Century l\/lortgage
Corporation as the i\/iaster Servicer (who entered into a sale and servicing agreement dated

March 01,2003.

(b) That the trustee is Deutshe Bank Nationa| Trust Company

htt : www.secinfo.com
(c) That the primary servicer is chen Federal Bank

(d) New Century l\/iortgage Corporation and its affiliates are the originators of the
mortgages to be included in the trust fund

htt : www.secinfo.com
(e) The following additional information is also found:

The l\/iortgage Loans will be assigned by the Depositor to the Trustee, together with all principal
and interest received with respect to such l\/iortgage Loans on and after the Cut-off Date (other
than Scheduled assignment, authenticate and deliver the Certificates. Each Mortgage Loan will
be identified in a schedule appearing as an exhibit to the Trust Agreement which will specify
with respect to each i\/iortgage Loan, a_mong other things, the original principal balance'and the
Scheduled Principal Balance as of the close of business on the Cut-off Date, the i\/iortgage Rate,
the Scheduled Payment, the maturity date, the Servicer and the Custodian of the i\/iortgage file,
whether the |\/iortgage Loan is covered by an Ll\/iPl Policy and the applicable Prepayment

Premium provisions, if any.

The Depositor shall deliver to and deposit with the Custodian as the duly appointed agent of the
Trust for such purposes, the following original documents or instruments (or copies thereof as

permitted by the Section) with respect to each l\/lortgage Loan assigned:

(1) in accordance with the trust agreement, the related original mortgage

note endorsed in blank without recourse the (2) the original mortgage

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with evidence of recording indicated thereon (or if such recordation has
not yet been returned by the recording office, a copy thereof certified

to be a true and complete copy of such mortgage sent for recording

(h) The depositor represented to the trust that immediately prior to the transfer
and assignment of the Niortgage Loans to the Trustee, the Depositor was the
sole owner of record and holder of each i\/iortgage Loan, and the Depositor had
good and marketable title thereto, and had full right to transfer and sell each

i\/iortgage Loan to the Trustee free and clear section 2.01(c)(ii).

(l) Concurrently with the execution and delivery of this Agreement, the depositor
does hereby transfer, assign, set over, deposit with and otherwise convey to the
Trustee, without recourse, subject to Sections 2.02, 2.04, 2.05 and 2.06, in trust,
all the right, title and interest of the Depositor in and to the mortgage Loans,
Such conveyance includes, without limitation, the right to all payments of
principal and interest received on or with respect to the Niortgage Loans on and

after the Cut-off Date, Section 2.01(a)

(m) The Depositor, concurrently with the execution and delivery hereof,
does hereby assign to the`Trustee without recourse all the right, title and
interest of the Depositor in and to (i) the |\/|ortgage Loans, including ali
interest and principal on or with respect to the l\/iortgage Loans due on or after
the Cut-off Date (other than Monthly Payments due on the i\/iortgage Loans in
the month of the Cut-off Date); and (ii) all proceeds of the foregoing in
addition,
on the Closing Date, the Supplemental interest Trust Trustee is hereby directed
to enter into (A) the Swap Agreements on behalf of the Supplemental interest
Trust with the Swap Counterparty and (B) the Yle|d i\/iaintenance Agreement on
behalf of the Supp|ementa| interest Trust with the Yie|d i\/iaintenance

Agreement Provider.

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(b) in connection with such assignment, and contemporaneously with the
delivery of this Agreement, the Depositor delivered or caused to be delivered
hereunder to the Trustee or a Custodian, and except as set forth in Section
2.0l(c) below and subject to Section 2.01(d) below, the Depositor does hereby
(1) with respect to each iViortgage Loan, deliver to the i\/iaster Servicer (or an
Affi|iate of the i\/iaster Servicer) each of the documents or instruments
described

in clause (l) (ii) below (and the Master Servicer shall hold (or cause such

Affiliate to ho|d) such documents or instruments in trust for the use and

benefit of all present and future Certificate holders), (2) with respect to each
i\/iOi\/i Loan, deliver to and deposit with the Trustee, or the Custodian as the duly
appointed agent of the Trustee for such purpose, the documents or instruments
described in clauses (i) (i) and (v) below, (3) with respect to each i\/iortgage

Loan that is not a l\/lOl\/i Loan but is registered on the MERS(R) System, deliver to
and deposit with the Trustee, or the Custodian as the duly appointed agent of
the Trustee for such purpose, the documents or instruments described in
clauses (i)(i), (iv) and (v) below and (4) with respect to each i\/iortgage Loan that
is not a i\/|O|\/i Loan and is not registered on the i\/iERS(R) System, deliver to and
deposit with the Trustee, or the Custodian as the duly appointed agent of the
Trustee for such purpose,`the documents or instruments described in clauses
(i)(i), (iii), (iv) and (v) below and clause (ii) below:

(i) with respect to each Niortgage Loan (other than a Cooperative Loan) so

assigned:

(i) The original i\/iortgage Note, endorsed without recourse to the
order of the Trustee and showing an unbroken chain of endorsements from
the originator thereof to the Person endorsing it to the Trustee, or with
respect to any Destroyed i\/lortgage Note, an original lost note affidavit
from the related Selier or Residential Funding stating that the original
i\/iortgage Note was lost, misplaced or destroyed, together with a copy of

the related l\/iortgage Note;

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(ii) The original i\/iortgage, noting the presence of the l\/liN of the i\/iortgage Loan
and language indicating that the l\/iortgage Loan is a i\/lOi\/i Loan if the i\/iortgage
Loan is a |\/iOi\/i Loan, with evidence of recording indicated thereon or, if the
original i\/lortgage has not yet been returned from the
public recording office, a copy of the original i\/iortgage with evidence of
recording indicated thereon; _

(iii) The Assignment (which may be included in one or more blanket assignments
if permitted by applicable law) of the i\/lortgage to the Trustee
with evidence of recording indicated thereon or a copy of such assignment
with evidence of recording indicated thereon;
(iv) The original recorded assignment or assignments of the
|\/iortgage showing an unbroken chain of title from the originator to the
Person assigning it to the Trustee (or to l\/iERS, if the l\/lortgage Loan is
registered on the |\/iERS(R)
System and noting the presence of a i\/iiN) with evidence of recordation
noted thereon or attached thereto, or a copy of such assignment or
assignments of the i\/iortgage with evidence of recording indicated thereon;
and (v) The original of each modification, assumption agreement or
preferred loan agreement, if any, relating to such i\/iortgage Loan, or a
copy of each modification, assumption agreement or preferred loan

agreement

11. The documents or record in this case tend to show that the mortgage that is subject of this
litigation (which includes the assignments of record) do not convey the subject trust which seeks
to foreclose on Piaintiff’s home

12. in Fact, the documents of record indicate that there is an assignment to Deutshe Bank Nationa|

Trust Company,as Trustee ,as Trustee and/or chen Loan Servicing.

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13. These purported assignments tend to convey each of the following irregularities rendering the

assignments invalid and legally unenforceable:

a.) The documents purport to ultimately convey the mortgage to Deutshe Bank
National Trust Company,as Trustee ,. However, the documents from the
defendants Shapiro and Kirsch, LLC tend to show the name of New Century
Mortgage Corporation and not the Trust.

b.) The only entity that could convey the mortgage to the trust is New Century
Mortgage Corporation.

c.) Therefore , the assignments of record which purport to assign directly to
Deutshe Bank National Trust Company,as Trustee fail to convey the mortgage to

the trust

14. Also, even though these documents were recorded in 2002, and possibly fabricated, they fail to
follow the basic steps for conveyance to the trust and there is no assignment to the depositor

New Century Mortgage Securities, lnc.

16. On September 8"`, 2008, Piaintiff requested the name of the true holder in clue course pursuant
to 15 USC 1641(f) (2) bust as of the date of the filing of this complaint, Piaintiff has not received

any proof.

17. in all of the wrongful acts alleged in the complaint, the Defendants and each of them have
utilized the United States mail in furtherance of their pattern of conduct to unlawfully collect on
negotiable instruments when they were not entitled under the law to do so, and assuming
arguendo that they did have the right to foreclose under the note, to profit from those actions

in amounts greater than their rights under the not to do so.

18. in pursuing non-judicial foreclosure, Defendants and each of them represented that they had

the right to payment under the note, payment of which was secured by the security instrument.

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19. '|'he true facts were that they were not in possession of the note and they were not either
holder of the note or non-holders ofthe note entitled to payment, as those terms are used in
Commercial Code 3301, 3309, and therefore they proceeded to foreclose non-judicially without
right under the law. Further, they added cost and charges to the payoff amount of the note that

were notjustified and proper under the terms of the note or the law.

20. Further, should these defendants be willing to creep out onto the proverbial limb and argue that
Deutshe Bank National Trust Company,as Trustee , and/or chen Loan Servicing is the owner of
said loan, the Piaintiff’s would posit only one question: As trust for whom is Deutshe Bank

National Trust Company,as Trustee and/or chen Loan Servicing the owner of said loan?

21. As the finder of fact may have now guessed, if the finder of fact is not bored to tears by now, a

trustee cannot go beyond his powers set forth in the trust which grants him his powers.

22. Deutshe Bank National Trust Company,as Trustee , "as trustee" has no power to act beyond the
power granted in its trust agreement, if Deutshe Bank National Trust Company,as Trustee ,
and/or chen Loan Servicing intends to claim that is not attempting to foreclose for New
Century l\/lortgage Corporation MORTGAGE ASSET-BACKED PASS-THROUGH CERTiF|CATES
Series 2003-2 then the court should either require Deutshe Bank National Trust Company,as
Trustee , and/or chen Loan Servicing-and Shapiro and Kirsch to set forth in specific terms who
it claims owns the mortgage in question and who Deutshe Bank National Trust Company,as
Trustee , is serving as trustee for so that Piaintiff may have the benefit of reviewing Deutshe
Bank ’s responsibilities and obligations under any alternative trust that it would like to claim
own the Piaintiff mortgage or equitable estop these Defendants from so claiming based on their

prior representations to this Court.

23. Further, the potential owners are quite numerous should these defendants go out on that
proverbial limb even further (and should this Court allow them to do so) as even a cursory
glance of SEC Filings shows that there are currently no less than 32 active trusts for mortgage

backed securities which Deutshe Bank National Trust Company,as Trustee , serves as trustee

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24. An actual controversy has arisen and now exists between Piaintiff and Defendants concerning
their respective rights and duties in that Piaintiff contends that Defendants had no authority to
sell the Property because they failed to record and acknowledged the assignment, as required

by |aw.

25. Piaintiff further contends that Defendants also lack standing because Piaintiff’s Deed of Trust
has been placed in a ”pooling agreement" trust which, by specific provision applicable to the,

cannot profit from Piaintiff’s Security.

26. Piaintiff contends that said sale was wrongful, illegai, in violation of law and the documents

governing the relationship between the Piaintiffs and the owners of the Piaintiff’s mortgage

27. The Piaintiff contends that the foreclosing entity lacked standing to initiate a foreclosure and the
foreclosure is void or at least voidable and that no title has passed to Deutshe Bank National
Trust Company,as Trustee , and/or chen Loan Servicing as there was no legal title to pass to it

from the foreclosing entity.

28. Piaintiff desires a judicial determination of their rights and duties and a declaration that the
Notice of Default and Election to Sell Under Deed of Trust and the Notice of Trustee's Sale and
all related documents are void and have no force or effect because Defendant have no power of
sale as the purported assignment of Deed of Trust was never recorded and Defendants are
without any right or authority whatsoever to sell the Property, and such Defendants have no

right, interest, title, estate or lien whatsoever in the Property.

29. The Piaintiff alleges that the action of Deutshe Bank National Trust Company,as Trustee and/or
chen Loan Servicing, Shapiro and Kirsch and their agents, employees and servants were

wrongful and tortious.

30. The Piaintiff alleges that the actions of Shapiro and Kirsch and Deutshe Bank National Trust
Company,as Trustee , and/or chen Loan Servicing NA in attempting to eject them from their

home and wrongfully foreclosing is a violation of law, wrongful and tortious and that Deutshe

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Bank National Trust Company,as Trustee , and/or chen Loan Servicing hold no title to their

home or property, and that its actions constitute negligence, wantonness, and slander of title,

31. The Piaintiff alleges that the actions of Deutshe Bank National Trust Company,as Trustee ,
and/or chen Loan Servicing coupled with the actions of Shapiro and Kirsch and their
employees, agents and servants were a civil conspiracy to deprive the Piaintiff of his property
and defraud the Piaintiff and the investors of the Trust monies wherein these parties were
engaged in a civil conspiracy to falsify legal documents for the purpose of foreclosing on homes
of individuals under a colorable title of right for the purpose of generating profits and income
from the act of depriving individuals of their homes and for the purpose of unjustly enriching

the participants of the joint venture at the expense of the unsuspecting an unknowing.

32. The Piaintiff alleges that Deutshe Bank National Trust Company,as Trustee , and/or chen Loan
Servicing had the right to choose and control the attorneys who it hired to foreclose on loans
and by having such control is liable for the wrongful and tortuous conduct of their agents,

employees and servants.

33. Piaintiff therefore seeks a declaration that the title to the subject property is vested in plaintiff
alone and that the defendant herein, and each of them, be declared to have no estate, right,
title or interest in the subject propertyand that said defendant, and each of them, be forever
enjoined from asserting any estate, right, title or interest in the subject property adverse to

plaintiff herein.

34. As a direct result ofthe acts complained by the Piaintiff, Piaintiff has been caused to suffer great
mental anguish, economic and emotional damages and claims from the defendants all damages

allowable under the law,
First C|aim

(Promissorv Fraud, Concea|ment and Suppression of Fact, Misrepresentation)

35. Piaintiff reallege all prior paragraphs of the pleading as if set out here in full.

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36. Piaintiff alleges in the entire course of foreclosure, Piaintiff was a victim of intentional
misrepresentation. Defendant failed to disclose the relationships among all parties involved
(inc|uding, any servicer, any custodian, any depository, any Special Purpose Vehicle of Special
Purpose Entity etc. etc.), the structure of the securities offered (inc|uding the flow of funds or
any subordination features) and any other material features of any transaction concerning the

sale, transfer or assignment of the loan at any time.

37. Piaintiff believes that Defendants are part of a Pooling and Servicing Agreement which hold
securitized bonds and that Piaintiff’s Deed of Trust is purported to one of many in the trust pool.
Defendants concealed this information and made further misrepresentations to deceive Piaintiff

in order to foreclose on the property.

38. The Aforementioned actions of Defendants were intentional misrepresentations and
concealment of material facts known to the Defendants with the intention of depriving the
Piaintiff of property and legal rights and, otherwise, causing injury, and those acts constitute
malicious, despicable conduct that subjected Piaintiff to unjust hardship in conscious disregard

of his rights sufficient as tojustify an award of exemplary and punitive damages.

39. As a result of Defendants' fraudulent misrepresentations, Piaintiff has been damaged in an

amount according to proof.
Second C|aim
jNegligence[
40. Piaintiff realleges all prior paragraphs of the pleading as if set out here in full.
41. Deutshe Bank National Trust Company,as Trustee , and/or chen Loan Servicing and Shapiro

and Kirsch negligently are attempting to eject Piaintiff from the home he rightfully owns since

the foreclosure performed by Shapiro and Kirsch is void

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42. As a direct result of the Deutshe Bank National Trust Company,as Trustee and/or chen Loan
Servicing and Shapiro and Kirsch negligence, the Piaintiff were injured and damages as alleged
above and has suffered mental anguish, economic injury and all other damages allowed by law.

43. As a result thereof, the plaintiff/counter-defendant is liable for all natural, proximate and

consequential damages due to its negligence,

Third Claim for Relief
fws

44. The Piaintiffs realleges all prior paragraphs of the pleading as if set out here in full.

45. Deutshe Bank National Trust Company,as Trustee, and/or chen Loan Servicing and Shapiro
and Kirsch with reckless indifference to the consequences, consciously and intentionally are

acting to eject the Piaintiff from the home he rightfully owns.

46. Deutshe Bank National Trust Company,as Trustee and/or chen Loan Servicing and Shapiro and
Kirsch with reckless indifference to the consequences, consciously and intentionally instituted
this action with the knowledge that the home of the Piaintiff does not belong to Deutshe Bank
National Trust Company,as Trustee , and/or chen Loan Servicing and is part of a securitized

pooling agreement which is purported to one of many in a trust.

47. As a result thereof, Deutshe Bank National Trust Company,as Trustee , and/or chen Loan
Servicing and Shapiro and Kirsch are liable for all natural, proximate and consequential damages

due to their wantonness as well as punitive damages upon a proper evidentiary showing

Fourth Claim for Relief

Respondeat Sugerior Liability

48. The Piaintiff realleges all prior paragraphs of the pleading as if set out here in full.

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Deutshe Bank National Trust Company,as Trustee , and/or chen Loan Servicing, directed, or

controlled the actions of Shapiro and Kirsch and its employee and associates.

Shapiro and Kirsch who is a third party defendant in this action, serves at the leisure of both the
Trust and Trustee and/or is a part of a joint venture with the Trust. These parties are alleged,
upon information and belief, to be engaged in a civil conspiracy to engage in conduct which is

unlawful for the purpose of unjustly enriching the members or participants in the joint venture.

Deutshe Bank National Trust Company,as Trustee , and/or chen Loan Servicing is liable in tort

for all of the wrongful actions of its agent, employee or servants, Shapiro and Kirsch.
The Piaintiff claims all damages allowable under law for these wrongful actions.

Fifth Cause of Action

Negligent or Wanton Hiring, Supervision, Training or Retention
The Piaintiff realleges all prior paragraphs of the pleading as if set out here in full.

Deutshe Bank negligently or wantonly hired, trained, supervised or retained the third party

defendant Shapiro and Kirsch.

As a result of the negligence or wantonness, depending on evidence adduced, the Piaintiff was

injured and damaged by the actions of Shapiro and Kirsch.
As a result, Deutshe Bank National Trust Company,as Trustee , and/or chen Loan Servicing is

liable for all damages proximately and directly flowing from these actions by their agents,

employees or servant, Shapiro and Kirsch.

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Sixth Claim for Relief

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The Piaintiff realleges all prior paragraphs of the pleading as if set out here in full.

Deutshe Bank National Trust Company,as Trustee and/or chen Loan Servicing and Shapirodand
Kirsch in filing a foreclosure deed ~ which is void - has caused a cloud to be placed on the title

of the Piaintiff’s property

As the proximate cause of Deutshe Bank National Trust Company,as Trustee and/or chen
Loan Servicing and Shapiro and Kirsch said slandering of the Piaintiff’s title, the Piaintiff was

caused to suffer injuries and damages and claim all damages allowable under law.

Seventh Cause of Action

Joint Venture Liabi|ity

The Piaintiff realleges all prior paragraphs'of the pleading as if set out here in full.

Deutshe Bank National Trust Company,as Trustee and/or chen Loan Servicing and Shapiro

and Kirsch, Piaintiff are part of a joint venture defined by controlling law.

Each member of a joint venture is jointly and severally liable for any tortious act of any member

of the joint venture against the Piaintiffs

As a result thereof, the defendants reallege in its entirety the complete third party complaint
against Deutshe Bank National Trust Company,as Trustee and/or chen Loan Servicing and

Shapiro and Kirsch as grounds for theirjoint venture liability

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64. As a result thereof the actions of the joint ventures, the Piaintiff have been injured and

damaged as heretofore alleged

Eighth Cause of Action

Unjust Enrichment

65. The Piaintiff realleges all prior paragraphs of the pleading as if set out here in full.

66. The actions of Deutshe Bank National Trust Company,as Trustee and/or chen Loan Servicing
and Shapiro and Kirsch and prior in foreclosing on the home of the Piaintiffs in violation of law
resulted in Deutshe Bank National Trust Company,as Trustee and/or chen Loan Servicing and
Shapiro and Kirsch being unjustly enriched by the payment of fees, insurance proceeds and

equity in the home.

67. As a result of Deutshe Bank National Trust Company,as Trustee and/or chen Loan Servicing
and Shapiro and Kirsch actions and unjust enrichment, the Piaintiffs has been injured and
damages in that the Piaintiffs have lost their home and have lost any equity in their home
resulting in emotional damages including mental anguish.

68. The Piaintiff claims all damages allowable under law as a result of Deutshe Bank National Trust
Company,as Trustee and/or chen Loan Servicing and Shapiro and Kirsch wrongful conduct and

unjust enrichment

Ninth Cause of Action

Civi| Consgiracy

71. The Piaintiff realleges all prior paragraphs of the pleading as if set out here in full.

72. Deutshe Bank National Trust Company,as Trustee and/or chen Loan Servicing and Shapiro and

Kirsch engaged in an unlawful combination and conspiracy to foreclose on home loans against

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individuals for the purpose of unjustly enriching themselves in violation of law, This unlawful

activity had the effect of unjustly enriching the joint venturers and conspirators

As a result of this civil conspiracy, civil wrongs were committed against the Piaintiffs and other

consumers. The motivation for the civil conspiracy was a third party defendant's greed

As a result of the civil conspiracy the Piaintiff claims ali damages allowed by law.

Tenth Claim for Relief

Wrongful Forec|osure

The Piaintiff realleges all prior paragraphs of the pleading as if set out here in full.

Deutshe Bank National Trust Company,as Trustee and/or chen Loan Servicing and Shapiro and

Kirsch have completed a foreclosure proceeding against the Piaintiff in violation of law,

The initiation of the foreclosure proceeding by Deutshe Bank National Trust Company,as Trustee
and/or chen Loan Servicing and Shapiro and Kirsch was either negligent or wonton, depending

on proof adduced at trial.

As a result thereof, Deutshe Bank National Trust Company,as Trustee and/or chen Loan
Servicing and Shapiro and Kirsch are liable for all natural, proximate and consequential damages
due to their own actions including an award of punitive damages upon a proper evidentiary

showing

Eleventh Cause of Action

RlCO

The Piaintiff realleges all prior paragraphs of the pleading as if set out here in full

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81. Piaintiffs allege the Defendants acts in the initiation and origination of the loan, the pooling and
servicing agreements and concealing the true note holder in due course was a scheme of
racketeering as that term is defined in RlCO, 18 USC 1961 et seq.

82. Piaintiff is therefore entitled to the remedies available under RlCO in civil actions

WHEREFORE, Piaintiff, having set forth his claims for relief against Defendants, prays this Honorable

Court as follows:

A. That the Piaintiff have and recover against the Defendants a sum to be determined by a jury
of their peers in the form of actual damages;

B. That the Piaintiff have and recover against Defendants a sum to be determined by a jury of
their peers in the form of punitive damages,'

C. That this court enter an order voiding the documents governing the loan of Plaintiff;

D. That Piaintiff have title to the subject property vested in plaintiff alone and that the
defendant herein, and each of them, be declared to have no estate, right, title or interest in
the subject property and that said defendants, be forever enjoined from asserting any
estate, right, title or interest in the subject property adverse to plaintiff herein; and

E. That the Piaintiff have such other and further relief as the Court may deem just and proper
and equitable given facts of the case.

DEMAND FOR JURY TRlAL

The Piaintiff hereby demands a trial byjury on all claims so triable before the Court

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Johrl Wi||iam $tewart
Pro Se Piaintiff
10707 Eagle Glen Drive
Knoxville, TN 37922
865.898.0095

 
  
 

  

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THE UN|TED STATES D|STR|CT COURT
FOR THE EASTERN D|STR|CT OF TENNESSEE
NORTHERN D|V|SlON

John Wi||iam Stewart l

Piaintiff ,

vs. ClV|L ACT|ON NO. 3:08-CV-475

New Century Mortgage Corporation,

Deutshe Bank National Trust Company, as Trustee,
chen Loan Servicing, Shapiro and Kirsch LLP.,
Tennessee Home Mortgage and "John Doe"
identified as all Persons having an ownership
interest in the mortgage lien on subject property
claiming any legal or equitable right title,

estate, lien or right, title, estate, lien or interest in
the property described in this complaint adverse
to Piaintiff’s title thereto inclusive,

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`_/ ~_~ V`_¢V~__¢`_,VV`/
'_'Vv`_¢`,

Defendant(s)

NOTICE OF LIS PENDENS

The undersigned hereby gives notice that an'action is pending within the matter which affects the
interest of the following real property and improvements thereon, situated in the County of Knox, State Of
Tennessee, to wit:

Lot Number (7), Eagle Glen Subdivision, Unit 1 as shown by map of the same of record in Map Cabinet

K, S|ide 96-C in the Register’s Ofi"lce for Knox County, Tennessee to which map reference is hereby made for
a more particular description of said property.

Street Address:
10707 Eagle Glen Drive

Knoxville, Tennessee 37922

    

/"

John Wi||iam Stewart ,
Pro Se Piaintiff

10707 Eagle Glen Drive
Knoxville, TN 37922
865.898.0095

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CERTIFICATE OF SERVICE
I, HEREBY CERTIFY that a true and correct copy of the foregoing First Amended Complaint
For Quiet Titie, Fraud and Misrepresentations, Breach of Contract, Declatory Relief, Injunctive
Relief and Notice of Lis Pendens has been certified mailed postage prepaid to:

New Century Mortgage Corporation
Corporation Trust Company

C/O Corporation Trust Center

1209 Orange Street

Wilrnington, Delaware 19801

Deutshe Bank National Trust Company
Yvonne Falconer

Legai Depaltrnent

60 Wall Street

New York, New York 10005

chen Loan Servicing
Corporation Service Company
2711 Centerville Road

Suite 400

Wilmington Delaware 19808

Shapiro and Kirsch LLP.

C/O Bass, Berry and Sims PLC
900 S. Gay Street

Suite 1700

Knoxville, Tennessee 37902

Tennessee Home Mortgage

445 Marilyn Lane
Alcoa, Tennessee 37701

This the 30th day Of;ianuary, 2009

 

i\ 1ohn William Stewart

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